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IN THE UNITED STATES DlSTR_lCT COURT Lé’£//

FOR THE WESTERN DISTRICT OF TENNESSBE `f,, /<f,';,

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LILLIAN OLENE DAWSON, Wrongful

death beneficiary and next of kin of
WILLIAM EARL DAWSON, deceased,

Plaintiff,
VS. No. 05-1154-T/An
MERCK & CO., INC., ET AL.,

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintif`f Lillian Olene Dawson, as the Wrongful death beneficiary and next of kin of
William Earl Davvson, filed the action in the Circuit Court of Madison County, Tennessee,
on l\/lay 5, 2005, against Merck and Company, Inc., maker of the prescription drug known
as Vioxx. Plaintiff also named as defendants certain local Merck sales representatives and
pharmacists Merck removed the action to this Court on June 6, 2005, on the basis of
diversity of citizenship, contending that the non-diverse defendants Were fraudulently joined
in an attempt to defeat diversity jurisdiction

Also on June 6, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the J udicial Panel on Multidistrict litigation (“MDL Panel”) on Whether this

case should be transferred to the United States District Court for the Eastern District of

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Louisiana as a “tag-along” action in MDL Proceeding No. 165 7, In re Vioxx Product
Liability Litigation. Plaintiff filed a motion to remand the action to state court on June 20,
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. in that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as Well as in any other MDL-1657 actions can be

presented to and decided by the transferee judge. See, e.g., fn re Ivy, 901 F.2d

7 (Zd Cir. 1990); fn re Prudential fnsurance Company ofAmerz`ca Sales

Praclices Litigation, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transfer Order, at 2 (J.P.M.L. Feb. ]6, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiff" s motion to remand. _S_e§ JPML R. 1.5. The decision whether
to grant a stay is within the inherent power of the Court and is discretionary E Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’ s decision on transfer, see, e.g., Kantner

v. Merck & Co. lnc., No. l:O4CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Merck & Co.. Inc.. No. 4:05~cv-89 (E.D. Mo. Mar. 16, 2005);
McCrerev v. Mercl< & Co.. Inc.. No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co. lnc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

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There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts. In many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiff resulting from a stay would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

F or the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT IS SO ORDERED.

QM»M

JAM D. TODD
UN D STATES DISTRICT JUDGE

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DAiE

 

Notice of Distribution

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Honorable J ames Todd
US DISTRICT COURT

